
21 N.Y.2d 746 (1968)
The People of the State of New York, Respondent,
v.
James E. Lofland, Appellant.
Court of Appeals of the State of New York.
Argued January 9, 1968.
Decided January 18, 1968.
Joel A. Brenner and Anthony F. Marra for appellant.
Louis J. Lefkowitz, Attorney-General (Charles A. LaTorella, Jr., Samuel A. Hirshowitz and Meyer H. Mencher of counsel), for respondent.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, KEATING, BREITEL and JASEN.
Order affirmed; no opinion.
